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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                             x
 COMMERZBANK AG,                                             :
                                                             :
                                  Plaintiff,                 :
                                                             :         Index No. 16-cv-04569-DLC
                   -against-                                 :
                                                             :
 U.S. BANK NATIONAL ASSOCIATION,                             :
                                                             :
                                  Defendant.                 :
                                                             :
                                                             x


                           NOTICE OF PLAINTIFF’S MOTION TO
                     EXCLUDE THE TESTIMONY OF STEVEN R. GRENADIER

       PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law, the

Declaration of Ryan A. Kane in Support of Plaintiff’s Motions to Exclude the Testimony of

Defendant’s Experts, executed December 15, 2021, and the exhibits thereto, Plaintiffs will move

this Court before the Honorable Denise L. Cote, at the courthouse located at 500 Pearl St.,

Courtroom 18B, New York, New York, for an order pursuant to Federal Rules of Evidence 403

and 702 excluding the Defendant’s expert report of Steven R. Grenadier and the opinion and

testimony related thereto.

       PLEASE TAKE FURTHER NOTICE that pursuant to the Court’s Order establishing a

pre-trial schedule, dated September 7, 2021 (ECF No. 445), U.S. Bank’s opposition to Plaintiff’s

motion shall be filed no later than February 4, 2022, and Plaintiff’s reply in support of this

motion shall be filed no later than February 25, 2022.
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Dated: New York, New York          WOLLMUTH MAHER & DEUTSCH LLP
       December 15, 2021
                                   By: /s/ Ryan A. Kane___

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                                   Steven S. Fitzgerald
                                   Ryan A. Kane
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